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                           UNITED STATES BANKRUPTCY COURT
                              SOUTHISN DISTRICT OF OHIO
                             WESTERN DIVISION-CINCINNATI

                                                :         Case No. 17-12377
In Re:                                          :         Chapter 13
                                                :         Judge Buchanan
         James M. Lister                        :
         Amy F. Lister                          :
               Debtor(s)                        :         JOINT STIPULATION OF FACTS AND
                                                :         ADMISSION OF EXHIBITS FOR
                                                :         CONFIRMATION OF CHAPTER 13
                                                :         PLAN AND OBJECTION TO SAME BY
                                                :         US BANK TRUST, NA


         Now come Debtors James and Amy Lister (“Debtors”), by and through counsel, together
with Creditor US Bank Trust, NA (“Creditor”), secured creditor in the above-captioned
proceeding, and hereby submit the following Stipulation of Facts, and consent to the admission of
the following exhibits for the hearing set on the confirmation of Debtors’ Chapter 13 Plan (“Plan”)
and the Creditor’s objection to same.
   1. Jurisdiction over this matter is vested in this Court by virtue of 28 U.S.C. §1334(b) and the
         general order of reference previously entered in this district.
   2. This is a core proceeding under 28 U.S.C. §157(b)(2)(L).
   3. Debtors own the real property located at and commonly referred to as 10038 State Route
         775, Scottown, Ohio 45678 (hereinafter the “Property”).
   4. Debtors have owned the Property since 1996.
   5. The Property consists of two adjacent parcels of real estate that are both pledged as
         collateral through a consensual mortgage for the debt owed to Creditor. The mortgage in
         question was executed on May 16, 2005 and was recorded with the Lawrence County
         Recorder’s office on May 26, 2005. The mortgage fully matures on May 16, 2025.
   6. The Debtors have owned and operated a home childcare on the premises for the past
         twenty-one years. This encompasses the entirety of the time that Creditor has held a
         mortgage against the Property.




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   7. Debtors receive monthly rent in the amount of approximately $600.00 for the rental of a
       separate structure that exists on the Property. The separate structure serves as a residence
       for a third-party. Debtors began the rental of this separate structure in October of 2014.
   8. Debtors and Creditor agree that the information presented in the stipulations is submitted
       in lieu of testimony of the Debtors and such information is accepted as truthful and
       accurate. Creditor waives its rights to cross examination of the Debtors as witnesses.
   9. Debtors obtained an appraisal of the entirety of the Property on April 25, 2017, with such
       appraisal being completed by licensed appraiser Jeffrey Hunter. A copy of the appraisal
       has been filed with the Court as ECF No. 9 and shall be considered Joint Exhibit 1. This
       appraisal shall be admitted as evidence.
   10. Creditor is in the process of completing its appraisal of the subject property. Creditor’s
       appraisal shall be considered Joint Exhibit 2. The admissibility of this appraisal shall be
       considered by the Court.


                                             Respectfully submitted,

/s/ Nicholas A. Zingarelli                          /s/ Steven H. Patterson
Nicholas A. Zingarelli (OH-0079110)                 Steven H. Patterson
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HAVE SEEN:

/s/ Francis J. Dicesare
Margaret A. Burks, Esq.
Chapter 13 Trustee
Attorney Reg. No. OH 0030377

Francis J. Dicesare, Esq.
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Attorney Reg. No. OH 0038798

Karolina F. Perr, Esq.
Staff Attorney



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Attorney No. OH 0066193

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                                  CERTIFICATE OF SERVICE
I hereby certify that a copy of the foregoing Joint Stipulations of Fact and Exhibits was served (i)
electronically on the date of filing through the court’s ECF System on all ECF participants
registered in this case at the email address registered with the court and (ii) by ordinary U.S. mail
on October 11, 2017 to:

James and Amy Lister
10038 St. Rt. 775
Scottown, OH 45678
                                              /s/ Nicholas A. Zingarelli (OH-0079110)
                                              Nicholas A. Zingarelli (OH-0079110)




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